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kelly@andersenlaw.com

      Attorney for Plaintiff


                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON

                                 MEDFORD DIVISION

JOHN ERIC SMITH ,                                         Case No. 16-CV-00690-CL

                    Plaintiff,                            AMENDED COST BILL

      V.

UNITED STATES OF AMERICA,

                    Defendant.

STATE OF OREGON                )
                               ) ss:
County of Jackson              )

      After conferring with defense counsel, we have prepared the following

Amended Cost Bill to resolve all known disputes about the claimed costs. I, Kelly

L. Andersen, certify that the following is a true statement of costs incurred and/or

believed to be allowed in this case.

       1.    Filing Fee                                                                 $    400.00

      2.     Cost of Obtaining Medical Records


     Page     1 - AMENDED COST BILL

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                               Home Pnge: www.andersenjaw,com
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Case 1:16-cv-00690-CL       Document 110            Filed 12/07/18   Page 2 of 4




            a)     Asante                                                $    209.75

            b)     Kroger Pharmacy                                       $     30.00

            c)     Medford Foot & Ankle                                  $    148.00

            d)     Mercy Flights                                         $     20.00

            e)     Oregon Advanced Imaging                               $     15.00

            f)     Rehabilitation Medicine Physicians                    $     30.00

            g)     Rogue Valley Urology                                  $         35.00

            h)     SONSA                                                 $     25.00

            i)     Valley Immediate Care                                 $         25.00

            j)     Walgreen Pharmacy                                     $         31.48

     The bills are attached as Exhibit A.

     3.     Deposition transcripts (bills attached as Exhibit 8)

            a)     LNS Court Reporting
                   Trans. John Eric Smith                                $     315.00

                   Depa/Trans. Of Manson, Webster, Schorran
                   And Tiffany Smith                                     $   1,264.20

            b)     Kastner & Associates
                   Trans. Of Rubenson                                    $     511 .50

            c)     Debra Dugan
                   Depa of Pray, M.D.                                    $     306.39

            d)     Catherine Vernon & Assoc.
                   Videotaped Depa of Chappa                             $   1,068.00

     4.     Trial Subpoenas and Service Fees (bills attached as Exhibit C)

            a)     Sure Serve Process Servers                            $     115.00


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               b)     Rogue Legal                                                   $      90.00

         5.    Witnesses Fees and Mileage 1 (Exhibit D)

Name                  Attendance        Subsistence           Mileage               Total Cost
                      & Travel                                & Travel              for each
                      Time                                    Expenses              Witness
                      Davs Cost         Davs Cost
Tiffany Smith         1     $40                                        $5           $45
Jeff Thompson         1     $40                                        $5           $45
Scott McBride         1     $40                                        $5           $45
Laural Wann           1     $40                                        $5           $45
Diana Ortiz           1     $40                                        $5           $45
Mike SahlberQ         1     $40                                        $5           $45
Rich Brasher          1     $40                                        $5           $45
Maria McGauQhlin"     3     $120       3         $127.50               $1,447.71    $1,695.21
David Talan           2     $80        2         $76.50                $1 ,352.59   $1 509.09
Roseann Velez         2     $80        2         $76.50                $823.61      $980.11
Michele Cook          2     $80        2         $76.50                $648.94      $805.44
Daniel Rubenson       1     $40        1                                            $40
Robert Arnsdorf       1     $40                  $38.35       336      $183.12      $261.37
Jeffery Zimmer        1     $40                                        $5           $45

         6.    Trial Exhibits3

I Number of Pages I Black & White4 I Color                               I Total Charges
    1
    Witness fee of $40.00 per day of testimony and necessary travel time, plus
 mileage or actual travel expenses. 28 USC § 1821(b)-(c). Subsistence
 allowance is allowed for witnesses who live too far to be expected to travel to
 and from their residence daily while in attendance at trial. 28 USC§ 1821(d).
 That rate is posted online, and for Medford is $93/per day for hotel and $51 per
 day for meals and incidentals, or $38.25 for the first and last days of travel. See
 https://www.gsa.gov/travel/p la n-book/per-diem-rates/per-diem-rates-
 lookup/?action=perd iems report&state=OR&fiscal year=2018&zip=&city=Medf
 ord.
2
   I have included one day travel each direction before and after her testimony
 because of the lack of reasonable flights between Medford and Florida.
 3
    This is the total page count and charges for all three copies of the trial
 binders: one each for Plaintiff, Defendant, and the Judge. The binders were
 each 868 pages, of which 34 were color copies.
        Page   3 - AMENDED COST BILL

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        Case 1:16-cv-00690-CL           Document 110                     Filed 12/07/18                        Page 4 of 4




       1102                                              I$0.55/page                                         I $56.10
        2,502                 I $.06/page                                                                     $150.12


                       TOTAL                                                                                        $10,496.56

                 DATED this   1f/_1'ay of November, 2018.
                                                           Andersen Morse & Linthorst, P




                                                                                                                ~
                 SUBSCRIBED AND SWORN TO BEFORE ME this ~ day of November
        2018.


                                                           Notary Public for the State of Oregon
                                                           My Commission Expires: 10-2~ .. 'l-1.


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                                                                                             NOTARY PUBLIC-OREGON
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            These are the current charges at Staples.com a~ of No_
                                                                 vember 19, 2018.
               Page    4 - AMENDED COST BILL
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